Case 8:19-cv-02448-WFJ-AAS Document1 Filed 10/02/19 Page 1 of 4 PagelD 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
"IN ADMIRALTY"
INTERNATIONAL SHIP REPAIR
AND MARINE SERVICES, INC.,
Plaintiff,

VS. CASE NO.::

M/V SHANI,
Defendant, in rem.

/

VERIFIED COMPLAINT IN REM

Plaintiff, INTERNATIONAL SHIP REPAIR AND MARINE SERVICES, INC.
(“ISR”), hereby brings this in rem action against Defendant, M/V SHANI, her engines, tackle,
etc. and in support thereof would show:

1. This is an admiralty and maritime claim within the meaning of Rule 9(h) of
the Federal Rules of Civil Procedure.

2. At all material times ISR was a company operating a marine repair
business in Tampa, Florida.

3. The vessel M/V SHANI is and will be during the pendency of the process
within this district and within the jurisdiction of this Court.

4. On or about October 26, 2018, the M/V SHANI was delivered to ISR’s

yard, On the order of the owner of the M/V SHANI, her master, or other representatives,

# 38286505 v1
Case 8:19-cv-02448-WFJ-AAS Document 1 Filed 10/02/19 Page 2 of 4 PagelD 2

in whose custody the vessel was entrusted by the owner, and who had authority for that
purpose, ISR performed repairs and provided berthing and other necessary services to the
M/V SHANI,

5. ISR has in fact provided the services to the M/V SHANI, including these
show:1 on the invoice attached hereto as Exhibit "A" until the present date.

6. As of October 4, a total of $290,730.00 is due and
owing to ISR as a result of ISR performing repairs and providing berthing and other necessary
services to M/V SHANI. Charges for berthing continue to accrue at $834.00 per day.

7, As a result of ISR's performing repairs and providing berthing and other
necessary services to the M/V SHANI, ISR is entitled to a maritime lien against the vessel M/V
SHANI. Performing repairs and providing berthing and other necessary services is necessary as
that term is defined in 46 U.S.C. 31031(4) and as is used in 46 U.S.C. 31342(a).

8. ISR has demanded from the owner and other representatives of the M/V SHANI
payment for its services. Although duly demanded, the charges have not been paid and remains
due and owing to ISR.

9. ISR has retained the undersigned counsel to bring this action on its behalf. In
addition, ISR has incurred or will incur certain additional costs of filing this complaint and
securing, arresting and holding the defendant vessel interest, costs and attorneys’ fees.

WHEREFORE, ISR demands:

1. That process in due form of law according to the rules and practice of this Court
and causes of maritime and admiralty jurisdiction may issue against the vessel M/V SHANI,
her engines, tackle, etc., citing all persons claiming any interest to appear and answer on oath all
and singular the matter states above.

2. That this Court order and adjudge that the vessel M/V SHANI be condemned

and sold to pay the demand, with prejudgment interest, costs and attorneys’ fees.
# 38286505 vl
Case 8:19-cv-02448-WFJ-AAS Document1 Filed 10/02/19 Page 3 of 4 PagelD 3

3. That judgment be entered in favor of ISR for the amount of its damages, plus

interest, prejudgment interest, costs and reasonable attorneys' fees.

Paul E. Parrish, Esq.
GrayRobinson, PA

Fla. Bar No. 373117

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# 38286505 v1
Case 8:19-cv-02448-WFJ-AAS Document1 Filed 10/02/19 Page 4 of 4 PagelD 4

VERIFICATION

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& we

Hugo Ortiz

 

STATE OF FLORIDA

COUNTY OF HILLSBOROUGH

Before me, the undersigned authority, personally appeared
__, who was duly sworn and says that he holds the position of President of the Plaintiff,
that he has road the foregoing Complaint and is familiar with its contents, which are true to the best
of his knowledge. The sources of his information and grounds for his belief are his personal
knowledge of the events stated along with his review of Plaintiffs files pertaining to the Tug Marion
Bouchard. Plaintiff has authorized affiant to make the representations herein,

     

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